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                    Exhibit K




    State of California ex rel. Ven A-Care of the Florida Keys, Inc. v.
          Abbott Labs, Inc. et al., Civil Action No. 03-11226-PBS

Exhibit to the November 25, 2009 Declaration of Christopher C. Palermo
     in Support of Mylan ' s Motion for Partial Summary Judgment
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